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18                          UNITED STATES DISTRICT COURT
19                        CENTRAL DISTRICT OF CALIFORNIA
20   ALEX MORGAN, et al.,                          Case No. 2:19-CV-01717-RGK-AGR
21                       Plaintiffs/Claimants,     Assigned to: Judge R. Gary Klausner
22   v.                                  PLAINTIFFS’ OPPOSITION TO
                                         DEFENDANT’S MOTION IN
23   UNITED STATES SOCCER                LIMINE NO. 5 TO EXCLUDE
     FEDERATION, INC.,                   EXPERT TESTIMONY OF
24                 Defendant/Respondent. DR. CAREN GOLDBERG
25                                                 Date: June 16, 2020
                                                   Time: 9:00 a.m.
26                                                 Courtroom: 850
27
28
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1    I.    PRELIMINARY STATEMENT
2          Armed with over twenty years of human resources (“HR”) management
3    experience, Dr. Caren Goldberg applies that expertise, and principles of HR practice set
4    forth in the academic literature, to reach two opinions in this litigation that she is more
5    than qualified to give, and that are relevant, reliable, and will assist the trier of fact in
6    determining whether USSF has engaged in willful or reckless gender discrimination
7    with respect to the terms and conditions of employment for the WNT players. Dr.
8    Goldberg opines that: USSF has operated well below standard and acceptable HR
9    practices in its treatment of Plaintiffs, current and former WNT players, with respect to
10   the lack of equality in their working conditions, and also in its response to complaints
11   from WNT players of unequal treatment. Dkt. No. 241-1, hereinafter “Initial Report,”
12   at 7. While USSF is free to contest the weight of these opinions at trial, it has not
13   presented any proper basis for excluding them.
14         First, Dr. Goldberg is an undisputedly qualified HR expert with over two decades
15   of experience in her field. That she is not an expert in “sports medicine or physical
16   therapy” or even soccer conditions generally is not relevant because Dr. Goldberg
17   neither offers herself as having this expertise, nor does she opine on those issues; she
18   only opines with respect to standards of human resource management and
19   organizational behavior, which are well within her expertise, and how those standards
20   relate to issues of equal employment opportunities in the workplace and the handling of
21   employee complaints of unequal treatment.
22         Second, Dr. Goldberg’s opinions are highly relevant to the key issues of whether
23   USSF’s proffered justifications for its unequal treatment of Plaintiffs are pretextual (in
24   light of USSF’s failure to adhere to standard HR practices with respect to such issues),
25   whether any alleged gender discrimination in working conditions was willful or
26   reckless, and whether, in light of USSF’s failure to adhere to basic HR requirements
27   with respect to equal employment opportunities and gender discrimination complaints,
28   punitive damages are warranted. Her expert testimony on these relevant issues will aid
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1    the jury because jurors are unlikely to have an understanding of what standard and
2    acceptable HR policies and practices entail, let alone how USSF’s actions fit within
3    those standards.
4             Third, Dr. Goldberg offers expert testimony that courts commonly allow in
5    employment discrimination cases like this one. Her expertise is reliable not only
6    because her opinions are grounded in the factual record and based on her specific
7    expertise, but also given Dr. Goldberg’s deep knowledge of and experience in the HR
8    field.
9             Fourth, USSF’s repeated challenges to the factual basis for Dr. Goldberg’s
10   opinions cannot support their exclusion. The Ninth Circuit, this District, and other
11   circuits uniformly hold that these type of factual challenges go to the weight of an
12   expert’s testimony—not its admissibility.
13            Fifth, there is no basis to exclude Dr. Goldberg’s testimony based on unfair
14   prejudice or jury confusion. Not only has USSF failed to identify any such prejudice
15   or confusion separate from its relevance claims, it cannot show how any purported
16   relevance challenge would outweigh the probative value of Dr. Goldberg’s testimony.
17   Even more, courts routinely extoll the probative value of this testimony in
18   discrimination cases.
19            Sixth, USSF seeks to exclude Dr. Goldberg for considering data on the WNT’s
20   and MNT’s working conditions because Plaintiffs’ EEOC charges were only
21   supposedly limited to “an equal pay claim.” Dkt. No. 240 at 3. But this Court recently
22   rejected this argument. Dkt. No. 250 at 23–24.
23            For all these reasons, USSF’s motion to exclude the testimony of Dr. Goldberg
24   should be denied in its entirety.
25   II.      ARGUMENT
26            Federal Rule of Evidence 702 permits testimony by a “witness who is qualified
27   as an expert by knowledge, skill, experience, training or education.” Fed. R. Evid. 702.
28   “Rule 702 contemplates a broad conception of expert qualifications.” Hangarter v.
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1    Provident Life & Acc. Ins. Co., 373 F.3d 998, 1015 (9th Cir. 2004) (emphasis in
2    original) (internal quotation marks and citations omitted). “[T]he text of Rule 702
3    expressly contemplates that an expert may be qualified on the basis of experience. In
4    certain fields, experience is the predominant, if not sole, basis for a great deal of reliable
5    expert testimony.” Fed. R. Evid. 702 Advisory Committee Notes to 2000 Amendments.
6          Trial courts engage in a two-step inquiry to decide whether expert testimony is
7    admissible. United States v. Finley, 301 F.3d 1000, 1008 (9th Cir. 2002). They first
8    assess whether an expert’s testimony has “a reliable basis in the knowledge and
9    experience of [the relevant] discipline.’” Kumho Tire Co., Ltd. v. Carmichael, 526 U.S.
10   137, 149 (1999). Courts then “ensure that the proposed expert testimony is relevant and
11   will serve to aid the trier of fact” by “provid[ing] information beyond the common
12   knowledge of the trier of fact.” Finley, 301 F.3d at 1008.
13         Rule 702 is applied with the “liberal thrust of the Federal Rules and their general
14   approach of relaxing the traditional barriers to opinion testimony.” Daubert v. Merrell
15   Dow Pharm., Inc., 509 U.S. 579, 588 (1993) (internal quotation marks and citation
16   omitted).
17         A.     Dr. Goldberg is Qualified to Offer Expert Opinions with Respect to
18                Human Resources Standards and Practices and Whether USSF
19                Complied with Those Standards as They Apply to Issues of Equal
20                Employment Opportunities and Responding to Employee Complaints.
21         Dr. Goldberg is a respected, well-published scholar, professor, and expert in the
22   HR field with over two decades of experience in HR management and organizational
23   behavior. See Initial Report, at Appendix 1. Since receiving her Ph.D. in Human
24   Resource Management in 1997, Dr. Goldberg has taught undergraduate, master’s, and
25   doctoral level courses in Human Resource Management, Industrial Psychology,
26   Organizational Behavior, and Research Design at George Washington University,
27   George Mason University, and Bowie State University. Initial Report at 2–3. She also
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1    served as Director for Human Resources while at George Washington University. Id.
2    at 2.
3            In addition to her teaching experience, Dr. Goldberg has written over 50 peer-
4    reviewed articles in renowned HR journals and served as an editorial board member of
5    several.     Id. at 2–3.   She recently completed terms as Treasurer and Executive
6    Committee Member of the Academy of Management’s Gender and Diversity in
7    Organizations Division. Id. at 3. She has also served on a joint task force for the Society
8    for Human Resource Management (“SHRM”) and the American National Standards
9    Institute tasked with developing national workplace standards for diversity and
10   inclusion. Id. Finally, she has testified at a trial and/or deposition in numerous
11   employment-related cases in the past four years. Id. at 3–4 & Appendix 1.
12           Dr. Goldberg uses this wealth of experience, and her expert knowledge of the
13   relevant academic literature, to reach two main opinions in her expert report: (1) that
14   USSF has operated well below standard and acceptable HR practices in its treatment of
15   WNT players as to their working conditions from an equal employment opportunities
16   standpoint; and (2) that USSF has operated well below accepted HR standards and
17   practices in its response to complaints from WNT players of unequal treatment. Initial
18   Report at 7.
19           USSF does not challenge Dr. Goldberg’s qualifications as an expert in the HR
20   field. See generally Dkt. No. 240.
21           B.     Dr. Goldberg’s Opinions Are Relevant and Will Assist the Trier of
22                  Fact.
23           Dr. Goldberg’s testimony will arm the jury with an understanding of what
24   standard HR practices are with respect to equal employment opportunity issues, from
25   which they can make factual inferences and determinations about reasonableness,
26   willfulness, and pretext in evaluating USSF’s conduct with respect to unequal treatment
27   in working conditions between the female WNT players and the male MNT players.
28   For this reason, Dr. Goldberg’s “testimony about [USSF’s] deviation from good human
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1    resources practices … will assist the jury because the average juror is unlikely to be
2    familiar with human resources management policies and practices.” See Humphreys v.
3    Regents of Univ. of Cal., No. 04-CV-03808-SI, 2006 WL 1867713, at *2 (N.D. Cal.
4    July 6, 2006) (finding that “proposed testimony about the University’s deviation from
5    good human resources practices is proper expert testimony under Rule 702” in gender
6    discrimination case and relevant to pretext).1
7          “[N]umerous courts have permitted extensive testimony by human resources
8    experts” in employment cases. Sitter v. Ascent Healthcare Sols., Inc., No. 09-CV-5682-
9    EMC, 2011 WL 2682976, at *1 (N.D. Cal. July 8, 2011) (collecting cases and
10   discussing that “best or good [HR] practices and insufficiencies … may inform [the
11   jury] what is reasonable”). In particular, courts commonly allow HR experts to testify
12   on standard HR policies and practices and whether an employer deviated from those
13   standards in employment cases, including those with discrimination claims. See, e.g.,
14   E.E.O.C. v. Sierra Pac. Indus., No. 08-CV-01470-MCE-DAD, 2010 WL 3941416, at
15   *1 (E.D. Cal. Oct. 5, 2010); Humphreys, 2006 WL 1867713, at *2–3; Maharaj v.
16   California Bank & Tr., 288 F.R.D. 458, 459–60 (E.D. Cal. Jan. 16, 2013); Nieto v.
17   Kapoor, 96-CV-1225-MV-JHG, 1998 WL 1991001, at *9–10 (D.N.M. Sept. 18, 1998).
18         Among other things, testimony about whether USSF acted in a manner consistent
19   with appropriate HR management practices in an employment discrimination case is
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     1
      See e.g., Ferretti v. Pfizer Inc., No. 11-CV-04486, 2013 WL 140088, at *19 (N.D. Cal.
21
     Jan. 10, 2013) (whether an employer’s actions were “consistent with generally accepted
22   human resources is not a matter within the knowledge of the ordinary juror”); Randall
     v. Smith’s Food & Drug Ctrs., Inc., No. 05-CV-139-J, 2006 WL 5176245, at *2–3
23
     (D. Wyo. Mar. 23, 2006) (admitting workplace investigations expert because “[w]hile
24   a juror can easily comprehend the severity or pervasiveness of workplace harassment,
25   that juror is far less familiar with intricate employer preventative and investigative
     practices and might benefit from testimony regarding the efficacy of an employer’s
26   policies and procedures to investigate employee misconduct and prevent sexual
27   harassment”); United States v. Vallejo, 237 F.3d 1008, 1019 (9th Cir. 2001), amended
     by 246 F.3d 1150 (9th Cir. 2001) (finding admissible expert testimony that was “beyond
28   the common knowledge of the average layperson”).
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1    relevant and “will assist the trier of fact in weighing … competing explanations” for an
2    employer’s conduct, like those USSF raises here. See Petrulio v. Teleflex Inc., No. 12-
3    CV-7187, 2014 WL 5697309, at *15 (E.D. Pa. Nov. 5, 2014). In addition, Dr.
4    Goldberg’s expert testimony on HR practices, and USSF’s failure to comply with them
5    with respect to equal employment opportunity issues, is probative of and relevant to a
6    number of disputed issues in this case, including whether USSF’s HR practices with
7    respect to WNT terms and conditions of employment were reflective of industry
8    standards or indicative of gender discrimination, whether USSF’s justifications for
9    gender discrimination in working conditions were pretextual because they were not
10   consistent with accepted HR standards, whether USSF’s gender discrimination in
11   working conditions for the WNT was willful or reckless, and whether punitive damages
12   are warranted because the failure of USSF to follow accepted HR standards supports a
13   conclusion that USSF acted intentionally with respect to is discriminatory treatment of
14   the WNT players.
15         USSF’s two cited cases, Malone v. Potter and Parton v. United Parcel Service,
16   are inapposite. See Malone, No. 07-CV-05530-MMM-FFMx, 2009 WL 10672523, at
17   *2 (C.D. Cal. Feb. 25, 2009) (expert failed to articulate HR standards or the basis for
18   any such standard, and instead, “merely assert[ed] that the [defendant’s] actions were
19   contrary to defendant’s policies without, in a majority of instances, even specifying the
20   policy allegedly violated”); Parton, 02-CV-2008-WSD, 2005 WL 5974445, at *4–6
21   (N.D. Ga. Aug. 2, 2005) (expert was “not qualified to testify as an expert with respect
22   to either standard human resources practices regarding employee discipline or the
23   specific employee-discipline practices of the UPS defendants” and testimony that the
24   defendants deviated from their own policies would not assist the trier of fact).2 In
25   2
       Other cases cited by USSF feature seriously flawed, irrelevant, or conclusory expert
26   testimony that is easily distinguishable from Dr. Goldberg’s well-reasoned and highly
27   relevant opinions here. See, e.g., Miller v. United Parcel Serv., Inc., 03-CV-2405, 2004
     WL 1771571, at *16 (N.D. Cal. Aug. 6, 2004) (striking expert testimony in part because
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1    she first relied upon her considerable experience in the HR industry, and understanding
2    of HR academic literature, to identify the standard HR policies and practices for equal
3    employment opportunities for working conditions in the United States, and for
4    responding to complaints of unequal treatment. Next, she considered the record
5    evidence establishing USSF’s policies and practices with respect to these issues,
6    including sworn testimony of USSF executives and WNT players, USSF policy
7    statements, the collective bargaining agreements, and various other documents
8    produced in discovery that were relevant to these issues. Finally, she applied her
9    extensive HR experience and the applicable academic literature on HR practices to this
10   evidence to formulate her opinion as to whether USSF operated above or below standard
11   and acceptable HR practices with respect to both HR issues regarding working
12   conditions and in responding to complaints of unequal treatment. See Initial Report at
13   5–7.
14          This kind of testimony by an experienced HR expert has repeatedly been held to
15   be reliable and admissible in employment cases. See e.g., Sitter, 2011 WL 2682976, at
16   *1; Humphreys, 2006 WL 1867713, at *3 (finding that HR expert’s “experience,
17   training, and education render[ed] his conclusions sufficiently reliable” in gender
18   discrimination case); Ferretti, 2013 WL 140088, at *19 (HR expert’s “significant
19   experience in human resources” made testimony reliable); Petrulio, 2014 WL 5697309,
20   at *14–15 (finding HR expert testimony reliable because expert opinions were “based
21   on his review of the relevant parts of the record, his professional background and
22   experience, and his review of various research materials in the field of human resources
23   management”).
24          In seeking to exclude certain of Dr. Goldberg’s opinions, USSF cites to cases
25   where experts only reviewed extremely limited portions of the evidence and thus did
26   not properly base their opinions on the record. For example, in Powell v. Anheuser-
27   Busch Inc., the court excluded the testimony of an expert who failed to review a
28   potentially opinion-changing deposition transcript from a key witness and found his
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1    testimony “unreliable in large part” because the expert was, in effect, asking “the Court
2    to take his word for it rather than applying his specialized knowledge to the facts of
3    th[e] case.” No. 09-CV-729-JFW-VBKx, 2012 WL 12953439, at *6 (C.D. Cal. Sept.
4    24, 2012). Thus, the expert adopted a “conclusory approach [that could not] reasonably
5    be assessed for reliability.” Id. Likewise, in Smith v. Pacific Bell Telephone Company,
6    an expert’s testimony was deemed unreliable because he “completely disregard[ed] the
7    relevant facts,” lacked expertise in employment practices, and offered conclusory,
8    argumentative opinions that were fundamentally “inconsistent with the undisputed facts
9    of the case.” 649 F. Supp. 2d 1073, 1093–98 (2009).3 By contrast, here, Dr. Goldberg
10   reviewed nearly every deposition transcript, from both sides, did an “in-depth
11   examination” of the data and other relevant facts, and applied her expertise in HR
12   management to the entire relevant record to form her opinions. Initial Report at 6–7,
13   9–11, 29–35, 36–43 & Appendix 2.
14         USSF complains that Dr. Goldberg’s report contains charts of record evidence
15   that required only “elementary school level math” to compile. But the fact that complex
16   math was not required to examine the evidence in no way diminishes her expertise to
17   opine as to whether USSF’s HR practices, as revealed in the charts, were consistent
18   with industry standards regarding equal opportunity and treatment. As her report and
19   deposition testimony make clear, Dr. Goldberg applied the standard HR practices found
20   in the academic literature and scholarly resources to opine on whether facts set forth in
21   the record, including the charts she offered, comply with those standards as they relate
22   to equal treatment and equal employment opportunities. It is not necessary that the facts
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24   3
      The decision in Rowe Entm’t, Inc. v. William Morris Agency, Inc. is inapposite as the
25   expert in that case simply offered conclusory assertions of racial discrimination, without
     any expert analysis, that “invade[d] the province of the jury” and “the province of the
26   court to determine the applicable law.” No. 98-CV-8272, 2003 WL 22272587, at *8
27   (S.D.N.Y. Oct. 2, 2003). Dr. Goldberg, by contrast, extensively studies the facts and
     offers expert opinions about the application of standard HR practices that are well
28   within the bounds of proper expert testimony.
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1    examined require complex mathematical analysis for an expert’s opinions about
2    industry practices to be helpful and admissible under Rule 702. See Sitter, 2011 WL
3    2682976, at *1; Humphreys, 2006 WL 1867713, at *2–3; Ferretti, 2013 WL 140088, at
4    *19.
5           USSF further argues that Dr. Goldberg’s opinions on HR practices are not
6    reliable because she did not investigate whether the reasons for USSF’s unequal
7    treatment were legitimate. Dkt. No. 240 at 6. But an expert is not required to study and
8    opine on every issue in the case. USSF distorts her deposition testimony to claim that
9    she agreed she should have done such a justification inquiry, but her actual testimony
10   was that, as “part of investigating complaints thoroughly,” USSF (or any employer with
11   standard HR practices) should have evaluated whether there were any legitimate
12   reasons for the different treatment. Dkt. No. 241-3 (Goldberg Dep.) at 127:9-22.
13          Finally, USSF’s arguments that Dr. Goldberg should have studied other facts
14   purportedly supportive of USSF’s claimed justifications for its working conditions
15   disparities—facts that even USSF does not identify anywhere in the actual discovery
16   record—at best go to the weight, not the reliability, of her testimony under Rule 702.
17   USSF has claimed that the disparities in working conditions between the WNT and
18   MNT, like quality of transportation and hotels, and providing fields of grass instead of
19   artificial turf, are the result of individualized, economically-based, non-discriminatory
20   analyses on a game-by-game basis, but it does not point to any documents showing any
21   such economically-based decision in the discovery record. Accordingly, to the extent
22   these arguments have any place in the case at all, they are merely fodder for expert
23   cross-examination and provide no basis for challenging the reliability of Dr. Goldberg’s
24   methodology from an admissibility standpoint. See. e.g., Hemmings v. Tidyman’s Inc.,
25   285 F.3d 1174, 1188 (9th Cir. 2002) (“[O]bjections to the inadequacies of a study are
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1    more appropriately considered an objection going to the weight of the evidence rather
2    than its admissibility.”).4
3          D.     USSF’s Factual Challenges to Dr. Goldberg’s Testimony at Best Go to
4                 Weight, Not Admissibility.
5          The Ninth Circuit, this District, and other circuits have long held that challenges
6    to the factual bases of expert opinions go to the weight, not admissibility, of the
7    testimony. See Hemmings, 285 F.3d at 1188; Tierney v. City of Manhattan Beach, No.
8    07-CV-3760-DSF-FFMx, 2008 WL 11411423, at *1 (C.D. Cal. Dec. 8, 2008) (“[The]
9    factual basis of an expert opinion goes to the credibility of the testimony, not the
10   admissibility.” (citation omitted)).5 Rather than providing a basis for exclusion, factual
11   challenges to an expert should be the subject of “[v]igorous cross examination.”
12   Hemmings, 285 F. 3d at 1188.
13         USSF’s factual criticisms of Dr. Goldberg’s working conditions analysis—that
14   she purportedly examined only a “few isolated working conditions” and that she
15   allegedly considered incomplete data and information (Dkt. No. 240 at 6–7)—are the
16   very type of factual criticisms that courts uniformly hold to be something that the jury
17   4
       USSF cites two prior cases in which Dr. Goldberg’s testimony was limited, not
18   excluded, neither of them on reliability grounds or in similar circumstances to those
     here. Indeed, in Prentice v. OfficeMax, the court expressly allowed Dr. Goldberg’s
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     testimony on “industry standards regarding human resources practices pertinent to this
20   case and whether the Defendants’ actual practices or conduct deviated from those
     standards”—exactly the type of opinion she offers here regarding USSF. Dkt. No. 241-
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     5 at 193. In Ravina v. Columbia University, she was similarly allowed to offer expert
22   opinions on HR issues to give “expert context on gender bias.” See Declaration of
     Diana Hughes Leiden, Ex. 1 at 40 (Ravina v. Columbia University July 5, 2018 hearing
23
     transcript); Dkt. No. 241-6 at 1. The courts in both cases limited Dr. Goldberg from
24   offering opinions that they concluded, on the specific facts of those cases, went too far
25   in offering opinions on the ultimate issues for the juries in those cases. No such ultimate
     issue testimony is being offered by Dr. Goldberg here.
26   5
       See also Mighty Enterprises, Inc. v. She Hong Indus. Co., 745 F. App’x 706, 709 (9th
27   Cir. 2018) (same); Children’s Broad. Corp. v. Walt Disney Co., 357 F.3d 860, 865 (8th
     Cir. 2004) (same).
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1    should evaluate with respect to weight, as opposed to being a basis to challenge
2    admissibility. See Emelianenko v. Affliction Clothing, No. 09-07865-MMM-MLGx,
3    2011 WL 13176755, at *14 (C.D. Cal. July 28, 2011). The same is true of any claimed
4    bias by Dr. Goldberg against USSF. Burke v. City of Santa Monica, No. 09-CV-02259-
5    MMM-PLAx, 2011 WL 13213593, at *13 (C.D. Cal. Jan. 10, 2011) (“An expert
6    witness’s bias goes to the weight, not the admissibility of the testimony ….” (citation
7    omitted)).6
8          Nor is there any merit to USSF’s argument that Dr. Goldberg’s opinions should
9    be excluded to the extent she relies upon evidence from outside the statute of limitations.
10   While USSF can argue to the jury that these facts are too old to be considered relevant,
11   that is not a ground for challenging the admissibility of Dr. Goldberg’s opinions, which
12   considered such evidence as a part of the overall fact record of USSF’s HR practices
13   with respect to the WNT in this case. Indeed, the Supreme Court has held that evidence
14   of past discriminatory conduct is relevant to showing discriminatory motive and intent
15   during the applicable limitations period. See, e.g., Nat’l R.R. Passenger Corp. v.
16   Morgan, 536 U.S. 101, 113 (2002) (explaining that with regard to an employer’s prior
17   discriminatory acts and knowledge about those acts, employees are not barred from
18   “using the prior acts as background evidence in support of a timely claim”).
19   Accordingly, Dr. Goldberg’s opinion about how USSF’s response to the 2004
20   complaint by the WNT of unequal treatment comported with standard HR practices can
21   support inferences by the jury regarding willfulness, motive, and other relevant issues
22   in the case even though that complaint occurred prior to the statute of limitations period.
23   See Tyler v. Boeing Co., No. CV 16-07610-AB-KSX, 2018 WL 4743404, at *2 (C.D.
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     6
25     USSF bases its “bias” claim on the ground that Dr. Goldberg opines that “numerous
     actions taken by U.S. Soccer … were ‘retaliation.’” Dkt. No. 240 at 14. Putting aside
26   the fact that Dr. Goldberg’s report only briefly discusses the issue of threats of
27   retaliation as part of her assessment of how USSF responded to complaints of unequal
     treatment (Initial Report at 31–43), this bias claim is an obvious issue for the jury to
28   consider in evaluating Dr. Goldberg’s testimony, not a basis to exclude it.
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1    Cal. Apr. 27, 2018) (denying motion in limine to exclude evidence outside the
2    limitations period and noting that “Plaintiff can use events preceding the statute of
3    limitations period to establish that Defendant acted with discriminatory intent during
4    the statute of limitations period”); Flores v. City of Westminster, 873 F.3d 739, 754 (9th
5    Cir. 2017) (affirming denial of motion in limine to allow jury to hear evidence of
6    discriminatory acts outside limitations period because “[t]his evidence was relevant to
7    Plaintiffs’ claims that they were discriminated against under a custom or policy”).
8          E.     USSF Has Not Shown Any Prejudice Outweighing the Probative
9                 Value of Dr. Goldberg’s Testimony.
10         There is similarly no basis for USSF’s argument that Dr. Goldberg’s opinions
11   should be excluded as unduly prejudicial under Federal Rule of Evidence 403 because
12   Dr. Goldberg considered and relied on evidence unfavorable to USSF that it claims is
13   irrelevant. Evidence can be excluded under F.R.E. 403 only if its probative value “is
14   substantially outweighed by” one of several factors, including unfair prejudice and jury
15   confusion. Fed. R. Evid. 403 (emphasis added). Here, USSF does not demonstrate how
16   Dr. Goldberg’s testimony would unfairly prejudice the jury or cause jury confusion at
17   all, let alone how such claimed prejudice would substantially outweigh Dr. Goldberg’s
18   highly probative testimony on HR practices that go directly to USSF’s intent and
19   recklessness with respect to its unequal treatment in working conditions. The fact that
20   an expert provides relevant, but harmful, testimony to a party’s case, does not make it
21   unfairly prejudicial or confusing to a jury. Miller v. United Parcel Services and Naeem
22   v. McKesson Drug Company offer no support for a contrary conclusion because neither
23   case even analyzed the possible exclusion of expert testimony under F.R.E. 403. See
24   2004 WL 1771571; No. 95-CV-5425, 2001 WL 1141803 (N.D. Ill. Aug. 14, 2001).
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1           F.    Dr. Goldberg’s Testimony on HR Standards for Working Conditions
2                 Is Not Barred Because of Any Purported Failure of Plaintiffs to
3                 Exhaust Administrative Remedies on Their Working Conditions
4                 Claims.
5           Finally, USSF argues that because Plaintiffs’ written EEOC charge purportedly
6    “was limited to an equal pay claim,” Plaintiffs have not exhausted administrative
7    remedies on their working conditions claim, and so, all testimony on non-compensation
8    issues is inadmissible and irrelevant. Dkt. No. 240 at 3. But as this Court recently
9    found, USSF “has not met its burden to demonstrate that Plaintiffs failed to exhaust
10   their working conditions claim” given evidence that “the EEOC investigated Plaintiffs’
11   working-conditions claim.” Dkt. No. 250 at 23–24. And even if that were not so, the
12   record evidence “demonstrates that Plaintiffs’ claim ‘fell within the scope of … an
13   EEOC investigation which can reasonably be expected to grow out of the charge[.]”
14   Dkt. No. 250 at 24 (citation omitted).
15          There is no basis then to preclude Dr. Goldberg from testifying about these
16   working conditions issues.
17   III.   CONCLUSION
18          For all of the reasons set forth above, the Court should deny USSF’s Motion in
19   Limine No. 5 in its entirety.
20
21   Dated: May 4, 2020                       WINSTON & STRAWN LLP

22
                                              By: /s/ Jeffrey L. Kessler
23                                                Jeffrey L. Kessler
                                                  Attorneys for Plaintiffs
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